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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:                                                    Chapter 15

 PERFORADORA ORO NEGO, S DE R.L. DE                        Case No. 18-11094 (SCC)
 C.V., et al.                                              (Jointly Administered)

 Debtors in a Foreign Proceeding.


 FERNANDO PEREZ-CORREA IN HIS                              Adv. Pro. No. 19-01360 (SCC)
 CAPACITY AS FOREIGN REPRESENTATIVE
 OF PERFORADORA ORO NEGRO, S. DE R.L.
 DE C.V.; JOSE ANTONIO CAÑEDO-WHITE;
 CARLOS WILLIAMSON-NASI; GONZALO
 GIL-WHITE; AND MIGUEL ÁNGEL
 VILLEGAS-VARGAS

                              Plaintiffs,

                      - against –

 ASIA RESEARCH AND CAPITAL
 MANAGEMENT LTD.; GHL INVESTMENTS
 (EUROPE) LTD.; ORO NEGRO PRIMUS PTE.,
 LTD.; ORO NEGRO LAURUS PTE., LTD.; ORO
 NEGRO FORTIUS PTE., LTD.; ORO NEGRO
 DECUS PTE., LTD.; ORO NEGRO IMPETUS
 PTE., LTD.; SHIP FINANCE INTERNATIONAL
 LTD.; and DOES 1-100

                             Defendants.


          [PROPOSED] ORDER GRANTING BONDHOLDER DEFENDANTS’
                   MOTION TO DISMISS THE COMPLAINT

               Upon consideration of the Motion to Dismiss the Complaint (the “Motion”) of

Asia Research and Capital Management Ltd., GHL Investments (Europe) Ltd., and Ship Finance

International Ltd. (collectively, the “Bondholder Defendants”), and all other papers filed by the

parties in support of and in opposition to the Bondholder Defendants’ Motion,
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            IT IS HEREBY ORDERED that Bondholder Defendants’ Motion to Dismiss the

Complaint is GRANTED.



Dated: _______________
New York, New York                  THE HONORABLE SHELLEY C. CHAPMAN
                                    UNITED STATES BANKRUPTCY JUDGE
